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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
DAVID CEPEDA,
                                            Plaintiff,                  19 CIVIL 2444 (JGK)

                 -against-                                                 JUDGMENT
ROBERT MORTON, JR.
                                           Defendant.
--------------------------------------------------------------X


        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Memorandum Opinion and Order dated October 30, 2020, the Court has

considered all of the arguments raised by the parties; to the extent not specifically addressed, the

arguments are either moot or without merit; the petition for a writ of habeas corpus is dismissed;

accordingly, this case is closed. Because petitioner failed to make a substantial showing of the

denial of a constitutional right, the Court declines to issue a certificate of appealability pursuant

to 28 U.S.C. § 2253 (c).

DATED: New York, New York
       October 30, 2020


                                                                       RUBY J. KRAJICK
                                                                   _________________________
                                                                         Clerk of Court
                                                             BY:
                                                                   _________________________
                                                                          Deputy Clerk
